      Case 4:17-cv-02475 Document 1 Filed on 08/11/17 in TXSD Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ANTHONY CLAY,                                  §
JAOPSAN JADRIAN DEVILLE,                       §
AND JIMMIE LOWERY                              §
                                               §
vs.                                            §      CIVIL ACTION N O . - - - - - -
                                               §
ORVALEE DONALD LAIRSON, AND                    §
CAT & SONS TRANSPORTATION LLC                  §                 JURY TRIAL REQUESTED



                  DEFENDANTS ORVALEE DONALD LAIRSON AND
            CAT AND SONS TRANSPORTATION LLC'S NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendants,    ORVALEE        DONALD        LAIRSON       and   CAT    AND      SONS

TRANSPORTATION LLC, file this Notice of Removal pursuant to 28 U.S.C. §§1441 and 1446,

showing the following basis for removal.

                                        INTRODUCTION

       1.    Plaintiffs, ANTHONY CLAY, JAOPSAN JADRIAN DEVILLE, and JIMMIE

LOWERY, filed Plaintiffs' Original Petition against Defendants on July 7, 2017, under Cause

No. 2017-45161, pending in the 2341h Judicial District Court, Harris County, Texas. Citations

upon the Defendants were requested on July 7, 2017.

       2.    Defendant, CAT AND SONS TRANSPORTATION LLC, was served by and

through its attorney of record, Robert L. Ramey, on August 11, 2017.

       3.    Defendant, ORVALEE D. LAIRSON was served by and tlu-ough his attorney of

record, Robert L. Ramey, on August 11, 2017.
         Case 4:17-cv-02475 Document 1 Filed on 08/11/17 in TXSD Page 2 of 4




         4.   This original Notice of Removal is filed within thirty days of service upon

Defendants, CAT AND SONS TRANSPORTATION LLC and ORVALEE D. LAIRSON, the

statutory period for removal as required under 28 U.S.C. § 1446(b).

                                          JURISDICTION

         5.     This court has removal jurisdiction over this lawsuit pursuant to 28 U.S.C.

§§1441 and 1446, and based upon diversity of citizenship under 28 U.S.C. §1332. Plaintiffs

ANTHONY CLAY, JAOPSAN JADRIAN DEVILLE, and JIMMIE LOWERY are domiciled in

Texas and are citizens of that state. Defendant CAT AND SONS TRANSPORTATION LLC is

a limited liability company with its principal place of business in Glendale, Arizona, and all of its

members are citizens of that state.           In that regard, Defendant CAT AND SONS

TRANSPORTATION LLC is a citizen of Arizona. Defendant ORV ALEE D. LAIRSON is

domiciled in Arizona and a resident of Glendale, Arizona and is therefore a citizen of that state.

Thus, there is diversity of citizenship between Plaintiffs and Defendants.

         6.    Consistent with TEX. R. Crv. P. 47, Plaintiffs seek monetary relief over $200,000

but not over $1,000,000.00 in damages in their Original Petition. Plaintiffs seek to recover

damages for past, present, and future physical pain, mental anguish, medical expenses, physical

impairment, and physical disfigurement.        Therefore, based on information and belief of

Defendants herein, Plaintiffs are seeking damages in excess of this court's jurisdictional

minimum of $75,000.00, excluding interest and costs.

         7.    All pleadings, process, orders, and other filings in the state court action in the

possession of Defendants are attached to this notice as required by 28 U.S.C. §1446(a).

         8.    Venue is proper in this district under 28 U.S.C. 139l(b)(2) because the sole basis

for Plaintiffs' suit and claim for damages arose from an incident that occurred in Harris County,

Texas.

                                                 2
      Case 4:17-cv-02475 Document 1 Filed on 08/11/17 in TXSD Page 3 of 4




        9.      Defendants will promptly file a copy of this Notice of Removal with the clerk of

the state court where the action has been pending.

                                            JURY DEMAND

        10.    Defendants hereby make a demand for a jury trial.

                                             CONCLUSION


       For these reasons, CAT AND SONS TRANSPORTATION LLC and ORVALEE D.

LAIRSON, therefore give notice of their removal of this lawsuit to this Court, and an automatic

stay of further proceedings in state district court.

                                                Respectfully submitted,

                                                RAM~?7HAND~ QUINN &              ZITO, P.C.

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                                                ORVALEE DONALD LAIRSON AND
                                                CAT AND SONS TRANSPORTATION LLC




                                                   3
      Case 4:17-cv-02475 Document 1 Filed on 08/11/17 in TXSD Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Defendants' Notice of Removal has been
served upon all counsel of record, in accordance with the rules on this _1j_ day August, 2017.

       Clyde J. Moore                               Facsimile: (713) 953-9049
       Clyde J. Moore, P.C.
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